                       EXHIBIT 1

                     LOWER COURT FILE

Lifebrite Hospital Group of Stokes, LLC v. Aetna Health Inc., et al.
           Superior Court, Stokes County 18-CVS-207




  Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 1 of 19
Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 2 of 19
Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 3 of 19
  STATE OF NORTH CAROLINA                                                                                ` °Ne'
                                                                                                                       LT
                                                                                                              In The General Court Of Justice
                                                                                                                                                       c7
                 STOKES                       County                                                      ❑ District       Q Superior Court Division
Nams01NOrntrif
LIFEBRITE HOSPITAL GROUP OF STOKES, LLC
Address
                                                                                                           CIVIL SUMMONS
cJo Michael R. Bennett, Esq.
                                                                                        [)   ALIAS AND PLURIES SUMMONS (ASSESS FEE)
aqr ,rat, x+a
P.O. Box 775, King, NC 27021
                                VERSUS                                                                                              G.S. IA-I. Rules 3 and 4
Name Of afendant(a)                                                             Data Odptnar Summons Issued
AETNA HEALTH, INC. and
AETNA HEALTH OF THE CAROLINAS, INC.                                             Date(,) &bsequontS ramons(ea) issued


 To Each Of The Defendant(s) Named Below:
NameAndAd4raaOfDe1ndentI                                                        Name AndAdU,asOfOsfendani2
Aetna Health, Inc.                                                              Aetna Health of the Carolinas, Inc.
by serving CT Corporation System, Registered Agent                              by serving CT Corporation System
160 Mine Lake Court, Suite 200                                                  150 Fayetteville Street, Box 1011
Raleigh, NC 27615.6417                                                          Raleigh, NC 27601
 A Civil Action Has Been Commenced Against 'foul
 You are notified to appear and answer the complaint of the plaintiff as follows:
 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiffs attorney within thirty (30) days after you have been
     served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiffs last known address, and
 2. File the original of the written answer with the Clerk of Superior Court of the county named above.
 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded In the complaint.
NamsAndAdfOfPlalntlffsAttamey(llnona,Addrossofplarrstn)                         Dat0I                              Time
                                                                                                     }                                            PM
Michael R. Bennett,Esq.
Bennett & West, PLLC                                                            Slynafu
P.O. Box 775
King, NC 27021                                                                                 csc       O A.Jatanm csc       Dc m o1 Supe, ,r court



o This
  ENDORSEMENT (ASSESS FEE)
       Summons was originally issued an the date indicated
                                                                                                                                      [AM      ❑ PM

   above and returned net served. At the request of the plaintiff.
   the time within which this Summons must be served is
   extended sixty (80) days.
                                                                            1      0 Ospu(yCSC           0 Asalarent CSC      ❑ CtedrOfSuperiarCewt




NOTE TO PARTIES: Many countlas have MANDATORYARB(T RATYON programs In which                      most cases wham the amount in controversy is $25000 or
                       less are heard by an arbifatorbefore a 6ieL The parties will be naiified ifthis case to ass!gnad farmandataryarbitration, end If
                       so, whet procedure is to be followed.




                                                                        (
 AOC-CV.100, Rev. 6116 t
O 2016 Administrative Office of the Courts




                      Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 4 of 19
                                                                           `b   f   lk



                                                                      RETURN OF SERVICE
     I certify that this Summons and a copy of the complaint were received and served as follows:
                                                                           DEFENDANT I
    Date Served                          lime Seared                                     Name OfDererrdant
                                                                  DAM       ❑ PM

    ❑ By delivering to the defendant named above a copy of the summons and complaint.
    ❑ By leaving a copy of the summons and complaint at the dwelling house or usual place    of abode of the defendant named above with a
      person of suitable age and discretion then residing therein.                                                -
    ❑ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
      below.
          Name AndAdd .ss Of Person L4 h Mom Copies Left (IfcorporatIan, gim litre ofpenron nnptea feRwfth)




    ❑ Other manner of service         (sped&)




    ❑ Defendant WAS NOT served for the following reason:




                                                                           DEFENDANT 2
Date Served                             Irma Served                                      Name Ofbefendant
                                                                 DAM       ❑ PhA

    ❑ By delivering to the defendant named above a copy of the summons and complaint
    ❑ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
      person of suitable age and discretion then residing therein.
    ❑ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
      below.
         NameAndAddfeu OfPetaon With Whom Copies Left (if carporaffon, pfve We ofperaun copies tart with)




 ❑ Other manner of service (spedfy)




 ❑ Defendant WAS NOT served for the following reason:



S     n'eeFee Paid                                                                   Signature Of Deputy ShediMatdng Reim

Date Received                                                                        Name OfShmdf (type of pmvf}


Data Of Retain                                                                       CouniyOfSheriff


    AOC-CV-100, Side Two, Rev. 6115
    to 2015 Adrniniatrative Office of the Courts




                         Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 5 of 19
                                                               .►   , i• I.




  NORTH CAROLINA                       )                             IN THE GENERAL COURT OF Ju STICE
                                                                         SUPERIOR COUIkT DIVISION
  STOKES COUNTY                        ) ,...                   ;. , -,       is CVS 24D
  LIFEBRITE HOSPITAL GROUP OF                              )
  STOKES LLC             HIS ire; _                    � I) P 2' 5 0
        Plaintiff,                  i 0 i s~ ~   °   )..
                                                     '. ' ! )       p
                                                                              r.
                                                                                   ..
  v.                                 i= ...... .)
                                           '               )    .   ~                   COIVI,PLAIINT
  AETNA HEALTH, INC. and                                  )
  AETNA HEALTH OF THE                                     )
  CAROLINAS, INC.,                                        )
                                                          )


        Defendants.                                       )

      Now comes Plaintiff tifeBrite Hospital Group of Stokes, LLC, compla ining of Defendants
Aetna Health, Inc. and Aetna Health of the Carolinas, Inc., alleges:
                                   FACTUAL BACKGROUND
       1. LifeBrite Hospital Group of Stokes, LLC (hereinafter "LifeBrite") is a healthcare
company organized and existing under the laws of the State of Georgia and is registered in North
Carolina as a foreign company. LifeBrite's principal place of business is located in Danbury,
Stokes County, North Carolina.
        2.     Aetna Health, Inc. (hereinafter, "Aetna") is a foreign business corporation with a
registered office in Durham County, North Carolina. According to Aetna's last annual report, it
covers the healthcare of close to 37.9 million people.
        3.      Aetna Health of the Carolinas, Inc. (hereinafter, "AHC"; Aetna and AHC are
collectively referred to as "Defendants") is a business corporation organized and existing under
the laws of the State of North Carolina with its principal place of business in Mecklenburg County,
North Carolina, and with offices in Durham County, North Carolina. It is a wholly-owned
subsidiary of Aetna Health Holdings, LLC, which is wholly-owned by Aetna.
       4.     This is an action concerning the refusal of Defendants to compensate LifeBrite for
covered services rendered to Aetna's and/or its affiliate's insureds. This is also an action based on
contract and breach of contract by Aetna, and for unjust enrichment by LifeBrite against the
Defendants.
        5.     This Court has jurisdiction over Defendant pursuant to N.C. Gen. Stat. 1-75.4 and
other applicable law.


                                                           ISO




             Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 6 of 19
         6.     Venue is proper in this Court pursuant to N.C. Gen. Stat 1-79 and other applicable
 law.
        7.       LifeBrite operates a critical access hospital known as LifeBrite Community
 Hospital of Stokes in Danbury, Stokes County, North Carolina (the "Hospital"). The Hospital
 offers a variety of customary hospital services, including inpatient; outpatient and outreach
 laboratory. All of the services are rendered from LifeBrite facilities. All services are rendered
 under the same tax identification number. Except for emergency room, swing-bed and psychiatric
 services, all services are rendered under the same National Provider Identifier. .
        8.      Aetna is the third largest provider of private health insurance in the United States.
 By and through its subsidiary, AHC, it provides health insurance to a significant amount of North
 Carolina residents.
         9.    LifeBrite and Defendants Aetna and AHS are parties to that Hospital Services
Agreement which requires LifeBrite to provide services to members covered by plans issued or
administered by Aetna (a "Member"). In turn, Aetna is required to compensate LifeBrite within
thirty (30) days of a claim for such services.
        10. LifeBrite began rendering care to Aetna insureds on or about January 31, 2017.
Aetna registered LifeBrite into its system as an in-network provider and began paying in-network
rates to LifeBrite. Copies of emails from Aetna confirming registration are attached as Exhibit A .
        11. On August 17, 2017, Aetna, by and through its agent Maria Tribble, sent
communication to LifeBrite's CEO stating, in part, that "we believe that you are submitting claims
for urine drug screening and other laboratory tests that were not performed at your facility but
rather, were performed atone or more independent reference laboratories. We view this as a form
of pass through billing, we believe such claims are improper and, it is our position that these
circumstances constitute a pattern of abusive billing and give rise to a reasonable suspicion of
fraud."
        12. In response to Aetna's August 17, 2017 communication, LifeBrite's counsel replied
to Aetna disputing Aetna's assertions, and sent a copy of LifeBrite's laboratory license as well as
a sample requisition form showing that the laboratory test were in fact ordered from LifeBrite.
The written reply further invited Ms. Tribble, as agent for Aetna, to visit the hospital's laboratory.
Ms. Tribble never responded to the letter, nor did Ms. Tribble return any of the many phone calls
that LifeBrite made in an attempt to speak with her,
        13. Aetna responded by directing that LifeBrite was out-of-network without notice or
justification from Aetna and stopped paying claims for all hospital, outpatient and outreach
laboratory services that LifeBrite rendered to Aetna insureds.
        14. Aetna never notified LifeBrite that it was terminating the Agreement and continues
to advertise to the general public that LifeBrite was an "in-network" provider. A copy of Aetna
provider directory dated March 3, 2018 is attached as Exhibit B. To date, Aetna has failed to pay
LifeBrite for over $856,535.25 in claims for services to Aetna insureds who sought treatment, in
part, because Aetna advertised LifeBrite as an "in-network" provider.
                                                 -2-




              Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 7 of 19
        15. By and through its agents, LifeBrite made several good faith efforts to resolve this
 matter with Aetna, including but not lirnited to telephone calls and written correspondence to Maria
 Tribble and its Contract Negotiator, Judy Murphy.
                                     FIRST CAUSE OF ACTION
                                     BREACH OF CONTRACT
                                         (Aetna and ABS)

       16.      LifeBrite realleges and incorporates all of the foregoing paragraphs set forth in the
 Complaint.
        17. The Defendants have materially breached the Hospital Services Agreement by its
refusal to process claims and reimburse LifeBrite for services rendered to its members.
        18. LifeBrite is entitled to ajudgment against the Defendants ofthe full amount due under
the Hospital Services Agreement because of the Defendant's breach, plus interest at the rate of eight
percent (8.0%) per annum, plus reasonable attorney fees.
                                  SECOND CAUSE OF ACTION
                                    UNJUST ENRICHMENT
                                       (Aetna and AH'S)
                                      (In the alternative)

      19.       LifeBrite realleges and incorporates all of the foregoing paragraphs set forth in the
Complaint.
       20. In the alternative, if Plaintiff cannot enforce the Hospital Service Agreement,
LifeBrite's provision of services to Members conferred a valuable benefit to the Defendants. The
Defendants have received services from LifeBrite in excess of $25,000.00, to which it should be
required to compensate LifeBrite for the reasonable value of those services.
       21. LifeBrite is entitled to a judgment in excess of $25,000.00 from Aetna for the unjust
enrichment of the Defendants.
        WHEREFORE, the Plaintiff prays of the Court the following relief:
         1.     That the Court enter a judgment against the Defendants in the amount of the
outstanding balance due under the Hospital Services Agreement which is in excess of $25,000.00,
plus all such other interest and charges as become due under the Hospital Services Agreement during
the pendency of this litigation;
        2.     That the Court award Plaintiff interest at the rate of eight percent (8.0%) as of the date
of the breach of the Hospital Services Agreement;
      4,      Alternatively, that the Court award Plaintiff a judgment against Defendants for an
amount in excess of $25,000.00, from Defendants for unjust enrichment;
                                               -3-




             Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 8 of 19
     5.     That the Court award Plaintiff reasonable attorney fees and costs; and
     6.     For such other and further relief as the Court deems just and proper.

     This the 1        day of March, 2018.


                                                   Mich el K. Bennett, Esq.
                                                   N.C. State Bar No. 16551
OF COUNSEL:
BENNETT & WEST, PLLC
F.O. Box 775
King, NC 27021
(336) 983 -3177




                                             -4-




          Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 9 of 19
 3/3/2018                     Adam Wafters Malt - Fw: Aetna ERA/EFT Confirmation - Lifebrite Hospital Group of Stokes, LLC
                                                                                                                             EXHIBIT A

                                                  Adam Walters <awalters@walterslawpc.coim>'

   Fw: Aetna ERA/EFT Confirmation - Lifebrite Hospital
   Group of Stokes, LLC
   Pamela Tillman                                    Fri, Feb 24, 2017 at 10:19
   <ptillman@Iifebritestokes.com >                                          AM
   To: "awalters@walterslawpc.com " <awalters al walterslawpc.com >, David
   Smith <dave@healthdave.com >, Christian Fletcher
   <cfletcher@lifebritehospitalgroup.corn>
   Cc: Teresa Stevens <tstevens@lifebritestokes.com >, Kristi Blaylock
   <kblaylock@lifebritestokes.com >




    From: Gelles, Matt <GelleM@aetna.com >
    Sent: Tuesday, February 21, 2017 9:39 AM
    To: Pamela Tillman
    Subject: Aetna ERA/EFT Confirmation - Lifebrite Hospital Group of Stokes, LLC

    Aetna ERA/EFT set up is now complete for the provider referenced above. ERA will take effect with claims
    processed 02/15/2017 when we will begin transmitting your ERA files to MD Online, if you have any
    questions regarding your ERA file transmission, please contact this clearinghouse directly.
    On your enrollment form, you checked the box to "Turn off Paper EOBs immediately." Therefore, your
    paper EOBs were discontinued effective 02/15/2017.
    Your EFT will take effect with claims paid after 02/15/2017. Please note that once we transmit an EFT to
    your bank, your bank has 3 business days to settle the funds arid make therrl available In your account.
    Claims already in process on or before your effective date will still generate paper checks.
    Your request for EFT email notification has also been completed. You will receive an email notification
    when we transmit an EFT to your banking Institution.

    Pleaase_be_sure to add notifications ©transautoemail.aetna.ogm to your address book to ensure
    delivery to your Inbox.

    If you did not request the above reference bank account setup, please contact me Immediately.

    If you are a registered user for Aetna's secure provider website, you can access your EOBs online via the
    Claim EOB Tool atjiLt ps://connect.navint.net. If you have not registered, please click here to register:
    itf ps:/lconnect.navinet.netlenroll .



    NaviNet Sign In
https:llmafl.finagle.corNmBWUi 1 U -29WRe94b4bef2b&jmr-aBerdlouZCQ.en.&%lit&msga16a7WfOW9728&gmhospitat%20aetm%20stoMoM... 1/3




                     Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 10 of 19
 3/3/2018                       Adam Walters Ma8 - Fti r Aetna ERNEFT ConflrtnaUon Ufabdte Hospital Group of Stakes. LLC
                                                                                  -



      connect.navinet.net

      Sign in to NaviNet, America 's largest real -time healthcare communications network , securely linking
      hundreds of thousands of physicians, clinicians and healthcare professionals nationwide.




     We'te_here t® hel 11

     • Visit www.aetna p petlessaffice.cam



     ERA, EFT & Electronic EOBs — Health Care Professionals I Aetna
     www.aetnepaperlessoflice.com
     Learn about Aetna's ERA, EFT and electronic EOBs tools that help you save time and money.



     for help with ERA, EFT and EOBs.

    • For help accessing or using Aetna 's secure provider website on NaviNet , call NaviNet Customer Care at
    1 -888-482-8057.
    • Use the contact is link on www aetna com for additional questions.
                                                  .        .



    • For help with CAQH , call the CAQH Provider Help Desk at 1-888 -599-1771.

    Thank you.

    Sincerely,

    Matt Gelles
    Aetna Provider eSotutions
    Electronic Remittance   a Payment Team

    aetnw
    This e - mail may contain confidential or privileged information. If you think you have received this e-
    mail in error, please advise the sender by reply e - mail and then delete this e-mail immediately.
    Thank you. Aetna
    PRIVILEGED AND CONFIDENTIAL : This document and the information contained herein are
    confidential and protected from disclosure pursuant to Federal law. This message is intended only
    for the use of the Addressee(s) and may contain information that is PRIVILEGED and
    CONFIDENTIAL . If you are not the intended recipient, you are hereby notified that the use,
    dissemination, or copying of this information is strictly prohibited. If you received this

http :ilmail google.comknoglufOt?ul=2ftweg4b4baEbgjoust=cSWtouZCQ.en.&vimnpt&ms9al6a70bM8d9728&q ~ ospltal%208etna%20stokes&ss... 213




                      Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 11 of 19
  3/3/2015                                 Mum ERNEFTConfirmation-UfebdteHospital Om of Stokes,LI.0
                                 Adam WaltersMati - Fw
      communication in error, please erase all copies of the message and its attachments and notify the
      sender immediately.
      PRIVILEGED AND CONFIDENTIAL: This document and the information
      contained herein are confidential and protected from disclosure pursuant
      to Federal law. This message is intended only for the use of the
      Addressee(s) and may contain information that is PRIVILEGED and
      CONFIDENTIAL. If you are not the intended recipient, you are hereby
      notified that the use, dissemination, or copying of this information is
      strictly prohibited. If you received this communication in error, please
      erase all copies of the message and its attachments and notify the sender
      immediately.




https:lJmall.google.00mlm lilt t4ui=2&ik=e94b4ba1 b8&jsvar=cBentt0uZCQ.en.Rvieuwplgmsri6a7ObMbHd972Uq=hospitai%20aetna%20stokes&s... 313




                       Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 12 of 19
 31312018                                                            DoCFind Search Engine - Search Results : Aetna.com


   aetna@                                                                                                                                          EIT $



   Aetna members AI90JQ  .
                                         Welcome to the Allina Health and Aetna online provider
   to
   to_Secure DocFlnd to get              directory
   personalized results
   based on your plan.
                                               Find a Doctor, Dentist, or Facility

                                              Search flu     Hospllols                                         in Danbtny. North Carolina          SEAttCN
    START A NEW SEARCH
    S oarch Tins S F s                         See 1rnportantNoiica About Partfclparieg Previdorabelow

    UIrectorlos & Neseurces
    Savin gs & Oisoottttts               Selected Plan: Plan Select open Access tefgg
    Qi aii!y A cost
    rnformatkrn
                                         Res ~ dia:1-28 1 2834 I
    Narrow your results

   Distanca          m11ae
                                             Sort By esttoryourPian
                                                                                                    9              ig
                                                                                                                                  Prdntproridar    Roportlneonaet
   Select:                                                                                     show map        Pane this page
                                                                                                                                   directory           tntonaotron
    O Hospital Accreditation
    0 Accepting now                          Best Results for Your Plan
   patientslonice details
    O Plan informatlon                        Dlotonca                   Nemo                        Plan Information                          Other
    O  Specialized training   8
  programs
                                                           LifeBrlte Cammunitu
                                                                                            to to netwo it
        Type of doctor or facility                         tin pilaLof Stokes
                                                           1570 NC 8 and 89 Hwy.
                                                           North, Danbury, NC 27016 See Accepted Plans
                                                           Phone: (336] 593-281
   Keep Your Costs Down                       2.01 ml      Specialties: Acute Short
   You will pay mom ff you                                 Term Hospital
   choose an oul-0 f-natrrolh
   docwr. Learn Mom

   (Other Important                                        Nrrt ern Hospital of Surer                                              Elective Deliverv, IO fa n
        Information                                        Qwntu                               la
                                                           830 Rockford Street, Mt.
                                                           Airy, NC 27030
                                         •     9
                                              22.t4m1
                                                           Phone: (336) 719-7000
                                                           Specialties: Acute Short
                                                                                           See Acceote8 Plans


                                                           Term Hospital



                                                           North i amli a Be g j                                                   Institutes of Quality.
                                                                                               in netwodc                             Barlatric S ung =
                                                           JOIN
                                                           Medical Center Blvd.,                                                   Institutes of.Qualita®_
                                                           Winston -Salem , NC 271 57 o pted Plans                              Cardi t Mi edical Intervention
                                               9
                                             24.S7ml
                                                           Phone: (336) 716-2011
                                                           Specialties : Acute Short
                                                                                                                                   institutes of QuaiityG_
                                                                                                                                        ardiuEiivthm
                                                           Term Hospital                                                           jnstituj s of ualitu-;
                                                                                                                                  Cardinvascul r Surg y!
                                                                                                                                       More Fla ga




http:llww .setna comfdseiseamh site, Id=allinaheaithaebm markPagespubiieFLinWectedBNrttyPresse&publlcpleaftearchQuelyai-klspltalsSsearch... 110
                 .                   ?




                             Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 13 of 19
  3/312018                                              DocFlnd Search Engine Search Results: Aetna.com
                                                                                -




                                    Dlstonau                Homo                               Plan Information             Oi:mr

                                                Pioneer Health Services of
                                                Patrick County                       m natvmrlc
                                                18688 Jeb Stuart Hwy.,
                                                Stuart, VA 24171                Spa AcceptedPlans
                                                Phone: (276) 694-8600
                                    14.1omI     Specialties: Acute Short
                                                Term Hospital



                                                Brenner Chi ti'n's Hos pital
                                                                                     Innaturodt
                                                Medical Center Blvd.,
                                                Winston-Salem, NC 27157
                                                Phone : (336) 716-2011         See Accented Plans
                                                Specialties: Acute Short
                                   24.07i111    Term Hospital



                                               Novsnt Health Clemmons
                                               Medical Center                ~1' ~ nattivo
                                               6915 Village Medical
                                               (;Ircle, Clemmons, NC           SeeAcepted P1 ans
                                    927012
                                                Phone: (336) 893-1000
                                   30.49m1
                                               Specialties : Acute Short
                                               Term Hospital



                                               Novent Health I ~gmersville
                                               Medical Center                        " ° ~f   l01
                                               1750 Kemersvilie Medical
                                               Pkwy., Kemersville, NC opted Plans
                                               27284
                                               Phone: (336) 564-4000
                                  2a.14mi
                                               Specialties: Acute Short
                                               Term Hospital



                                               Alamence Reg iog1
                                               Medical Center                       In netvmrx
                                               1240 Huffman Milt Road,
                                               Burlington . NC 27215           Se e Acce d Plans
                                               Phone: (336) 538 -7000
                                  47,71m1      Specialties: Acute Short
                                               Term Hospital



                                               Ij~ gh_Chatham MilM orlal                                          E1veJ
                                                                                                                   —
                                                                                                                   ec1    eIiaxy-{
                                               BfiOM
                                                                               ainflaimmrk                           Safety Pma igm
                                               180 Parkwood Drive , Elkin,
                                               NC 28621                    See Accepted Pien~
                                   9           Phone: (336) 527-7000
                                  55.74m1      Specialties : Acute Short
                                               Term Hospital




htip;lAw ceeMa .camldselsearch ?stir: kt=apinahealttlaeinagimarkPage - publicPian3etecteowhyPressed =puUfcPlangsearchOmai -- Hoepitols &seamh... 210




                        Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 14 of 19
  3/3/2018                                              DocFlnd Search Engine - Search Results : Aatne.com

                                    DhUnoe                  Name                          Plan Inromwtion                    Other

                                                 More tad Memorial
                                                                               0' In network
                                                Bm121
                                                 117 East Kings Hwy., Eden,
                                      ~ry  NC 27288                            ~ pI~ d           Plans
                                             Phone: (336) 623-9711
                                    26.79mI  Specialties: Acute Short
                                             Term Hospital



                                                i; ing on Medlgai Center                                           ~ CectCve ~etr~ver1   to
                                                                              /~
                                                250 Hospital Drive ,               In ne lwark                               y- AGMM
                                                Lexington, NC 27292
                                                Phone : (336) 248-5161        opted Plans
                                                Specialties: Acute Short
                                                Term Hospital



                                                hig h Point Reglcnal Health- - -       --
                                                                                                                         Delivery nJ. of
                                                601 North Elm Street , High      "0 `                                 sy-P~29t1~
                                               Point, NC 27262
                                               Phone: (336) 878-6000 See.Acceo
                                                                        See-Accepted
                                                                                 tedPJaee
                                     9         Specialties: Acute Short
                                   35•171111
                                               Term Hospital



                                               Novant.Health Medical                                                lective_Deltvety.lnfant
                                               Park H-la sp               InaBEwork                                   Barely PlbgLal
                                               1950 South Hawthorne
                                               Road, Winston-Salem, NC See Accepted Plans
                                               27103
                                               Phone : (336) 718-0600
                                   2571ml      Specialties : Acute Short
                                               Term Hospital



                                               Women' s Hospiaa °f
                                               Gree nsbnm
                                               ~
                                                                              @ In nettivork
                                               801 Green Valley Road,
                                               Greensboro, NC 27408                Acce pted Plans
                                               Phone: (338) 832-6500
                                  53.07m1      Specialties: Acute Short
                                               Term Hospital



                                               Danville Re g lana Medical                                        Elective Oeiivery nfant
                                                                                 In network                                y~ gg
                                               Center
                                               142 South Main Street,
                                               Danville, VA 24541            See         pted Plan
                                               Phone: (434) 799 2100
                                                                -


                                   a.o1mi      Specialties: Acute Short
                                               Term Hospital




http:llwwweetno . eaddseisearch?site id=allinaheattheetna #markPageapubUcPlanSelecded&whyPr ~ essed-publiePien &searchQueri - Hospitalsgsearch... 316




                          Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 15 of 19
  3!312018                                             DocFlnd Search Engine - Search Results : Aetna.com

                                   olstanco                Name                            lan Infomuitian               Other


                                               flLP Tw1n C ,iinty_Sgfgnat
                                                                                   'In network
                                        200 Hospital Drive, Galax,
                                    ® VA 24333
                                            Phone: (278) 236-8181
                                   42.yemt Specialties: Acute Short
                                            Term Hospital



                                                emortal _Hospitalof                                            ElectiveDelivery infant
                                               Martinsville                        In network                     Safet y- ftgim
                                          320 Hospital Drive,
                                          Martinsville , VA 24112           See Accepted Plans
                                          Phone: (276) 866-7200
                                  2e.2Gml Specialties: Acu te Short
                                              Term Hospital




                                               atla mel 8i Orive ,
                                              190                         In netr+ark
                                              Winston Salem, NC 27103
                                              Phone: (336) 768.3298 See Accented 1?laas
                                              Specialties: Acute Short
                                  27 ~ 4m1    Term Hospital



                                              Sa1eniMAM                           I" network
                                              705 Piney Forest Road,
                                              Danville, VA 24540
                                   9          Phone : (434) 710 -4210
                                              Specialties: Acute Short
                                                                            y ee Accenied Flans
                                  49.61m!
                                              Term Hospital



                                              Davie CountyJjgnpit
                                                                                  N network
                                              329 NC Hwy. 801 North,
                                              Bermuda Run, NC 27006
                                   9          Phone : (336) 99&1300
                                              Specialties: Acute Short
                                                                            See AcceR ~~ d Plans
                                 3II.li2mf
                                              Term Hospital



                                                                                                                         ~ Ivery Infant
                                                                                                               lective_D _I
                                              Danvitle Re gianal Medical
                                         Center                              !'   In network
                                         320 Hospital Drive,
                                         Martinsville, VA 24112            See Ac ceW1g_
                                                                                      d Plans_
                                         Phone: (434) 789 -2100
                                 Z&26ml Specialties : Acute Short
                                         Term Hospital




http:f www.aetno .cmWdselsearch ?site id=allinahealthaetne #markPage =puhliePlenSetected&whyPressed = puNiePlan&searchOuery=HoWtolskearch.,. 4/6




                         Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 16 of 19
 313/2018                                                            DocFtnd Search Engine - Search Results: AoIna.cam

                                          Oistanca                       Name                           Plan Information                           Other

                                                            Novant Health Forsyth
                                                                                              V In network
                                                            Behavioral Health
                                                            175IGmel Park Drive, Suite
                                                            100, Winston Salem, NC
                                                            27103
                                            V .. Phone: (336) 277-1800
                                          27.15m1          Specialties: Psychiatric
                                                           Hospital , Acute and Long
                                                           Term


                                                           CldVlneyard Behavioral
                                                           Health Services          q) in mt"'orit
                                                           3637 Old Vineyard Road.
                                                           Winston Salem, NC 27104 See AcceptedFJans
                                               f           Phone; (336) 794-3550
                                                           Specialties: Psychiatric
                                          asg imrl         Hospital, Acute and Long
                                                           Term



                                                           _mm
                                                             u H__ilh EaWl
                                                           Medical Center                  ~NOd
                                                                                                 m ne `                                        lac Rh yme _
                                                                                                                                      Institutes of Q mIIt ►r~

                                                           3333 Silas Creek Pkwy.,
                                                           Winston Salem , NC 27103 See_ Accented Plan:£
                                                                                                                                               -

                                                                                                                                          gafety     g=
                                                                                                                                     EteCtLV Dallvety lnfnt -




                                           9               Phone: (336) 718-5000
                                         25.9&m1           Specialties: Acute Short
                                                           Term Hospital



                                                           Moses H. Cone Memorial                                                     lnsfitutes. of Qualit y,2;
                                                           to
                                                           1200 North Elm Street,
                                                                                             1~ innetwatk                         Ca dla MedicalIntervention
                                                                                                                                      Institutes of Quality _-
                                                           Greensboro , NC 27401             See Acceeted Plans                      Cardlovascuiar S't ga
                                                           Phone: (336) 832-7000                                                   institutes of.0uaIily~ -Total
                                         34.170            Specialties: Acute Short
                                                           Term Hospital                                                            BgplacgMgI]VQtii4taedic


                                      Kasha' 1-23 1    26 34 I a>
                                                           -




                                      Important notice about participating providers
                                      Provider information contained In this directory is updated 6 days per week, excluding holidays,
                                      Sundays or interruptions due to system maintenance upgrades or unplanned outages. This
                                                   ,                                                        ,


                                      information Is subject to change at any time. Please check with the provider before scheduling
                                      your appointment or receiving services to confirm he or she Is participating In Aetna's network.



                                                                           Db<ecmry Last Updated 03/02/2018


                                                                                                                                                       fi~ :dig[cerc
                                                                                                                                                       i.       _8V55L,.


   Home I Privacy Information I Legal Statement        I   Praduci Legal Disctaimara I Member Dlsdasure i Aetna Comperdoa : State Dl ectory I Nondiscdm tnaVon Notice      l
                                                                                 AxesoibUity Sendgea



   Copyright0 2001-201 9 Aetna Inc.

hilp:lhwm.aetr coralriselsoar t7slte          alRilaheWftetrta#inarkPege=publicPlenSetecled&whyPmssed=pubecPian&seamhOuery=Hospitala&seamh... 516




                             Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 17 of 19
Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 18 of 19
Case 1:18-cv-00336 Document 1-1 Filed 04/25/18 Page 19 of 19
